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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JUSTIN GUY, individually on behalf
of himself and others similiarly situated,
                                                       Case No.: 20-cv-12734
      Plaintiff,
                                                       Hon. Mark A. Goldsmith
v.

ABSOPURE WATER COMPANY, LLC,
a domestic limited liability company,

     Defendant.
_____________________________________/

                   PLAINTIFF’S 10TH NOTICE OF FILING
                       CONSENT TO JOIN FORMS

      Plaintiff, Justin Guy, hereby gives notice of filing the Consent to Join forms

attached hereto as an Exhibit.

                                             Respectfully submitted,
Dated: April 5, 2023
                                             /s/ Michael N. Hanna
                                             Michael N. Hanna (P81462)
                                             MORGAN & MORGAN, P.A
                                             2000 Town Center, Suite 1900
                                             Southfield, MI 48075
                                             (313) 251-1399
                                             mhanna@forthepeople.com
                                             Attorneys for Plaintiff
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                           CERTIFICATE OF SERVICE

      The undersigned certifies that on April 5, 2023, the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will

send electronic notification of this filing to all parties of record.

                                                 /s/ Veronica Stewart
                                                 Veronica Stewart, Paralegal




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